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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 Civil Action No. 9:21-cv-80716-RKA

  TULLIA HEISSENBERG, an individual,
         Plaintiff,
  v.
  JOHN DOE, an individual;
        Defendant.
  ________________________________________/

              SUPPLEMENTAL DECLARATION OF TULLIA HEISSENBERG
         Pursuant to 28 U.S.C. § 1746, I, TULLIA HEISSENBERG, declare the following:
           1.       My name is Tullia Heissenberg. I am over eighteen (18) years of age, and I am the
  plaintiff in the above-captioned lawsuit. I make this affidavit based upon my personal knowledge.
          2.      This affidavit is made in support of my Motion for Temporary Restraining Order
  Without Notice against Defendant JOHN DOE and supplements the Declaration that I executed on
  April 14, 2021.
          3.     Since the date on which I executed my earlier Declaration in this matter, my retained
  professionals have continued to trace the cryptocurrency assets that were stolen from me on or about
  March 1, 2021.
          4.      Attached hereto as Exhibit “A” is a true and correct copy of the most current
  cryptographic tracing analysis done for me; which shows that as recently as yesterday (April 21, 2021
  at 03:10:11 UTC), 3.71 bitcoin (present valuation of approximately $204,000.00 USD) were moved to
  the following cryptocurrency wallet address: 34J8Q7AWjwy2rntUY7Wdij7zoU6VZX6aVy.
          5.      With each day that passes in which no mechanism is in place to freeze the further
  unauthorized movement of my stolen assets, I remain fearful that the assets stolen from me will be
  liquidated or dissipated beyond the point of recovery.
         FURTHER DECLARANT SAYETH NAUGHT.

                                          VERIFICATION
          I, TULLIA HEISSENBERG, hereby verify and declare under penalty of perjury that I have
  read the foregoing declaration and know the contents thereof, and that the matters contained in the
  declaration are true to my own knowledge.
         I hereby verify and declare under penalty of perjury that the foregoing is true and correct.

                                                         /s/ Tullia Heissenberg
                                                        TULLIA HEISSENBERG
  DATED this      22nd day of April 2021.
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                                                                                                                  Funds under claim
                                                                                                           (average confirmed with the five
Owner Name        Beneficiary Name                    Destination Address            Cryptocurrency Unit                                    Tainted Inflow Start Time   Tainted Inflow End Time
                                                                                                               tracing methodologies;
                                                                                                                in cryptocurrency unit)
                                     34J8Q7AWjwy2rntUY7Wdij7zoU6VZX6aVy                     BTC                                  3.71000703    2021-04-21 03:10:11        2021-04-21 03:10:11
                                     1AaChudwCkJQ5NxdPFPnqQDh9zqruJReVy                     BTC                                  0.15970164    2021-04-19 09:31:59        2021-04-19 09:31:59
                                     1EjpXJ5EYf5kwJxNuZoCiqhBd7MwKgTBBY                     BTC                                  0.07454193    2021-04-16 18:12:23        2021-04-16 18:12:23
                                     bc1qc5s4ny02ky52n593k5dmg0wwlm4ru6k27wqg25             BTC                                  0.05872858    2021-04-12 17:08:21        2021-04-12 17:08:21
                                     bc1q47nqjel39ddwkpdkem4rktm07dfqdzx424nh9v             BTC                                  0.04939759    2021-04-11 14:10:53        2021-04-11 14:10:53
Binance                              1EzwkAhKV7mBHET1Ad3ihoCe3zuMffdzax                     BTC                                  0.04639212    2021-04-08 21:05:14        2021-04-08 21:05:14
                                     3DXPizDtGKbAbyKFMeFdDsYifsp2pDJMLP                     BTC                                  0.07698239    2021-04-08 03:29:43        2021-04-08 03:29:43
                                     3CfbSGLJTuDSDdXxTnriNhHh3yU7xjZ2Jk                     BTC                                  0.09259574    2021-04-08 02:56:14        2021-04-08 02:56:14
                                     bc1q0fe62m8hzh74z5487cqxyxjlwkf45dzul6nv7y             BTC                                  0.03102376    2021-04-07 22:50:22        2021-04-07 22:50:22
                                     bc1qzjmpqyk2v02l37s02e32pg38j6qe8auxrzjrlj             BTC                                  3.38700250    2021-04-06 07:31:30        2021-04-06 20:07:25
                                     1CsAvaUuHhE2iGhG61QErwr5CWX7wD7T98                     BTC                                  0.09745785    2021-04-02 17:34:11        2021-04-02 17:34:11
                                     bc1qzfhwgletqd4u4vgg0lca5nlgatj8evz2uuq5cv             BTC                                  0.12957358    2021-03-30 05:09:20        2021-03-30 05:09:20
                                     bc1qsnz7d7zkeg90yxe9hsufhv8qcp8353jlpce47h             BTC                                  0.18041926    2021-03-29 12:34:57        2021-03-29 12:34:57
Binance                              1AVXFB3sxU3TNQcGMucUHrS1QeEoVqxzQg                     BTC                                  0.10147389    2021-03-24 17:59:51        2021-04-14 11:57:00
Binance                              1AVwZwfwNGJsRU4WMjTHVzDmD9DRQqUkGG                     BTC                                  0.08231204    2021-03-24 17:59:51        2021-04-14 11:30:46
                                     bc1q06jkaan5d0lrkzqs7n2mf9lr6ww0t70dssgg5x             BTC                                  0.04027866    2021-03-16 18:06:06        2021-03-16 18:06:06
Binance                              1A7XECBoMPwgHmL4mHTgLLNNBMuGCfd8qx                     BTC                                  0.15016433    2021-03-15 05:17:00        2021-03-25 03:06:18
Binance                              16MoMBF2pQyq1xHWpU2QtdApSocWnkRdg4                     BTC                                  0.12518164    2021-03-12 20:28:45        2021-03-27 16:32:20
Binance                              1NDyJtNTjmwk5xPNhjgAMu4HDHigtobu1s                     BTC                                  0.07799006    2021-03-10 15:49:18        2021-03-21 18:25:37
Poloniex                             12vZ3fU66g4XTeomUYCEPp9rcsWjexgzR7                     BTC                                  0.49729413    2021-03-10 08:37:17        2021-03-14 17:36:30
Cryptopay                            3GJJJchnkesSEUqVm5rKLcvn4XPG3pYW8m                     BTC                                  0.01539928    2021-03-08 11:57:27        2021-03-08 11:57:27
                                     19FotcnpeF71bHaA6a52Y1ZD2vXJhVPgXu                     BTC                                  0.05872858    2021-03-08 00:50:34        2021-03-08 00:50:34
                                     1Lxm3YUzy4Whdp157kK9UYHCMteBdCBqq4                     BTC                                  0.05872858    2021-03-08 00:50:34        2021-03-08 00:50:34
Binance                              1B9y1QhoFdmDwGaMUzync2xjrfQiCpTaaC                     BTC                                  0.00146479    2021-03-07 23:02:16        2021-03-07 23:02:16
Patricia                             3F8XqmSF3CZvdamgsRfK74c6dS8rjr5n4s                     BTC                                  0.00112493    2021-03-07 23:02:16        2021-03-07 23:02:16
Coinbase                             39VqAzScewJxgXzA7bxpX3722wmLfgiFJj                     BTC                                  0.00075255    2021-03-07 23:02:16        2021-03-07 23:02:16
CoinPayments.                        3KyT668KgWLoaRqq8bPV8QK9NhTJN3pdYW                     BTC                                  0.00057209    2021-03-07 23:02:16        2021-03-07 23:02:16
Coinbase                             3HjNXNETaMnReh7xqhmFA2VYAvJdyd13iV                     BTC                                  0.00038323    2021-03-07 23:02:16        2021-03-07 23:02:16
Patricia                             3PHjoRvNSW5FhZEKyoLAvdMNrBTQC2p9bS                     BTC                                  0.00016652    2021-03-07 23:02:16        2021-03-07 23:02:16
Luno                                 3CpaNbnWSmjZzCsmx4wp6uPKK3CTPHNVZb                     BTC                                  0.00009689    2021-03-07 23:02:16        2021-03-07 23:02:16
                                     327uTRES6ThXupKUAt1Xuk2pD9BiZaZ4wT                     BTC                                  1.10657357    2021-03-07 22:09:44        2021-03-07 22:09:44
Xapo.com                             19JyAkHKh36sFduqK4hMsMZhU6ZDoLotW                      BTC                                  2.33906575    2021-03-07 00:55:57        2021-03-07 00:55:57
Binance                              1HYsoGHnqe2APq5NiFuRxad1b8KMhhwKJC                     BTC                                  0.03000000    2021-03-06 22:32:08        2021-03-06 22:32:08
BitFlyer                             3Am4DeAEjcNftnFEC6snvGkcvsjshA1GsB                     BTC                                  0.00307965    2021-03-06 15:43:18        2021-03-06 15:43:18
Remitano |-| Fo                      3G9havU8uFRBwqguk6G3YYjxNDAjp1w3Mh                     BTC                                  0.00136799    2021-03-05 10:39:26        2021-03-05 10:39:26
Coinbase                             3LF1XGESznTATC7dMQ2zWmZdf4WEJCcehj                     BTC                                  0.30000000    2021-03-04 16:23:14        2021-03-04 16:23:14
Binance                              15cxBdcNYsdkTW6JoM3Q4xshRF6x8vYrEc                     BTC                                  0.41288896    2021-03-04 10:56:19        2021-03-04 10:56:19
                                     13jWBgfYQRs1pPwsWhk9jtvjfDMgdByknP                     BTC                                  2.20246077    2021-03-03 11:29:44        2021-03-03 11:29:44
Coinbase                             3Hms8jBNudNiVVQFqNQE9jhntLTy8REsnU                     BTC                                  0.00024944    2021-03-03 06:12:08        2021-03-05 10:39:26
Coins.ph                             35XfUV6j6nGFXvFcn8P6x2XRaK6QfjGayz                     BTC                                  0.00062995    2021-03-03 00:18:56        2021-03-03 00:18:56




                                                                                  EXHIBIT "A"
